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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

DANIEL BERKOWITZ,
MARYGRACE BERKOWITZ,

Plaintiffs,

v. Case No.: CIV-l4-333-F

SAFECO INSURANCE COMPANY OF
AMERICA, a foreign for profit insurance
corporation,

V\,/\/V\/\_/\_/\,/V\/\./\./

Defendant.
STIPULATION OF DISMISSAL WITH PREJUDICE

COME NOW all parties, through their legal counsel, and hereby stipulate and agree

that the above-captioned action should be dismissed With prejudice to any further litigation

pertaining to all matters involved herein. A compromise settlement covering all claims that

Were asserted, or Which could have been asserted, has been reached, with each party bearing
their own attorney fees and costs.

Said parties hereby request the Court Clerk show this action to be dismissed With

prejudice pursuant to this stipulation, effective immediately.

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Respectfully submitted,

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